Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 1 of 16




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 0:18-cv-61991-BB

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  1 GLOBAL CAPITAL LLC, and
  CARL RUDERMAN,

         Defendants, and

  1 WEST CAPITAL LLC,
  BRIGHT SMILE FINANCING, LLC,
  BRR BLOCK INC.,
  DIGI SOUTH LLC,
  GANADOR ENTERPRISES, LLC,
  MEDIA PAY LLC
  PAY NOW DIRECT LLC, and
  RUDERMAN FAMILY TRUST,

        Relief Defendants.
  ___________________________________/

                           RECEIVER’S EIGHTH STATUS REPORT

         Jon A. Sale, not individually, but solely in his capacity as the Court-appointed receiver (the

  “Receiver”) for Bright Smile Financing, LLC (“Bright Smile”); BRR Block Inc. (“BRR Block”);

  Digi South LLC (“Digi South”); Ganador Enterprises, LLC (“Ganador”); Media Pay LLC (“Media

  Pay”); Pay Now Direct LLC (“Pay Now”); the Ruderman Family Trust; and the Bright Smile Trust

  (collectively, the "Receivership Entities"), respectfully submits this Eighth Status Report covering

  the period of April 14, 2021 through February 28, 2022 (“Reporting Period”).




                                                   1
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 2 of 16




      I.       INTRODUCTION

            The Receiver and his retained professionals achieved significant results for the benefit of

  the Receivership Estate during the Reporting Period by: (1) negotiating, litigating, and settling

  clawback (fraudulent transfer) claims against several third-parties; and (2) attending to general

  maintenance of the Receivership.

      II.      RECEIVER’S APPOINTMENT AND DUTIES

            On August 23, 2018, the United States Securities & Exchange Commission (“SEC”)

  initiated this action against Defendants 1 Global Capital, LLC (“1 Global”) and Carl Ruderman,

  and Relief Defendants 1 West Capital LLC (“1 West”), Bright Smile, BRR Block, Ganador, Media

  Pay, Pay Now, and the Ruderman Family Trust. [D.E. 1]. The SEC alleges that Defendants

  engaged in a four-year long unregistered securities fraud totaling more than $287 million,

  victimizing thousands of investors nationwide. Id., ¶ 1. The SEC seeks, among other relief,

  permanent injunctive relief, civil penalties, and disgorgement. Id., pp. 33-34. The same day, the

  SEC requested an asset freeze and the appointment of a receiver over Relief Defendants Bright

  Smile, BRR Block, Digi South, Ganador, Media Pay, and Pay Now. [D.E. 6; D.E. 7]. The Court

  entered a sealed order appointing Jon A. Sale, Esq. as Receiver for the Receivership Entities (the

  “Receivership Order”).1 [D.E. 12]. The Court also entered an order freezing Defendants’ assets

  (the “Freeze Order”). [D.E. 13].

            Pursuant to the Receivership Order, the Receiver is obligated to, among other things: (1)

  take immediate possession of the Receivership Entities’ property, assets, and estates of every kind;




  1
   The Court later expanded the Receivership over the Ruderman Family Trust and the Bright Smile
  Trust, on November 21, 2018, and the Receivership Order is controlling over them as well. [D.E.
  115.]

                                                     2
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 3 of 16




  and (2) investigate the way the affairs of the Receivership Entities were conducted and institute

  actions and proceedings for the benefit of investors and other creditors. [D.E. 12, ¶¶ 1-2].

            The Receivership Order requires the Receiver to prepare status reports. [D.E. 12, ¶ 3]. This

  Eighth Report summarizes the Receiver’s and his professionals’ relevant activities during the

  Reporting Period.

     III.      ACTIVITY DURING REPORTING PERIOD

            On April 14, 2021, the Receiver filed his Seventh Status Report with this Court, which

  covered the period of August 21, 2020 through April 13, 2021. [D.E. 280]. In it, the Receiver

  explained the results he and his team of retained professionals achieved in connection with, among

  other things: (1) litigating and settling certain clawback actions; and (2) attending to general

  maintenance of the Receivership. Id.

            In this Eighth Status Report, the Receiver addresses similar issues, including the updated

  status of clawback negotiations and litigations.

            A. Pending Litigation

               1. Original Seven Lawsuits

            As previously reported, on August 23, 2019, Damian & Valori LLP (“Special Counsel”),

  the Receiver’s contingency counsel, filed seven lawsuits against defendants that received funds

  from the Receivership Entities (the “Clawback Actions”), including: (1) Bank of America, N.A.;

  (2) J.P. Morgan Chase Bank, N.A. (“Chase”), for recovery of credit card payments; (3) Chase, for

  recovery of mortgage payments; (4) Citibank, N.A.; (5) Mercedes Benz Financial Services, USA,

  LLC (“Mercedes Benz”); (6) American Express Company (“AmEx”); and (7) Ferrari Financial

  Services Inc. (“Ferrari”).




                                                     3
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 4 of 16




         As previously reported, the Court had approved the Receiver’s settlements with five of

  these entities: (1) Citibank, N.A. [D.E. 246] (resulting in a greater than 60% recovery for the

  Receivership); (2) Bank of America, N.A. [D.E. 248] (resulting in a 55% recovery for the

  Receivership); (3) Chase related to credit card payments [D.E. 250] (resulting in a 59% recovery

  for the Receivership); (4) AmEx [D.E. 270] (resulting in a 78% recovery of funds transferred to

  and retained by AmEx); and (5) Mercedes Benz [D.E. 269] (resulting in a 52% recovery for the

  Receivership). The Receiver has obtained settlement funds from all five of these entities.

         In this Reporting Period, the Receiver settled two more Clawback Actions with Ferrari

  [D.E. 281] and with Chase related to mortgage payments [D.E. 299]. The Court approved the

  Receiver’s settlement with Ferrari on May 12, 2021. [D.E. 282] (resulting in a 33% recovery for

  the Receivership). The Receiver has since obtained settlement payment from Ferrari. The Court

  approved the Receiver’s settlement with Chase related to mortgage payments on February 11,

  2022. [D.E. 301] (resulting in recovery of $300,000 for the benefit of the Receivership Estate and

  approximately $215,000 benefit for investors as discussed herein). The Receiver has since

  obtained the benefits of that settlement, as well. The settlement of the Receiver’s lawsuit against

  Chase and the sale of Ruderman’s condominium, are discussed further below.

             2. Additional Settlements

         The Receiver previously reported that he obtained Court-approval of settlements with two

  additional clawback entities for which no lawsuit was ever filed: (1) a law firm, which received

  payments made from Digi South, LLC, for a settlement amount of $105,000 [D.E. 277] (resulting

  in more than a 40% recovery); and (2) Bella Vista Mid-Rise North Condo. Association (“Bella

  Vista”), for monies paid to it in connection with condominium fees for Defendant Carl Ruderman’s




                                                  4
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 5 of 16




  residence, for a settlement amount of $62,500 [D.E. 279] (resulting in more than 46% recovery).

  The Receiver has now obtained full settlement payment from both the law firm and Bella Vista.

             3. Lawsuit Against Jumbleberry

         As previously reported, on February 19, 2020, the Receiver filed a clawback lawsuit

  against Jumbleberry, a Canadian entity. [Jumbleberry Docket, D.E. 1] (hereafter cited as “[JB

  D.E.]”). The parties engaged in substantial motion practice regarding Jumbleberry’s motion to

  dismiss the Receiver’s action, including objections to Magistrate Torres report and

  recommendation (“R&R”) on the motion to dismiss. [See JB D.E. 13, 29, 39-41, 45].

         The parties spent considerable time and effort between April and October 2021 litigating

  and discussing potential settlement of the lawsuit. The parties reached agreement on a proposed

  settlement in October 2021. On October 6, 2021, the Receiver filed a motion for approval of the

  proposed settlement agreement with Jumbleberry. [D.E. 292]. Pursuant to the terms of the

  proposed settlement, the Receiver would receive $87,640.00 from Jumbleberry and the parties

  agreed to execute mutual general releases. Id. The Court approved the settlement with Jumbleberry

  the same day, October 6, 2021. [D.E. 293] (providing for a greater than 100% recovery of funds

  transferred to and retained by Jumbleberry as profits).

             4. Lawsuit Against Valentina Radchuk

         As previously reported, on August 14, 2020, the Receiver filed a clawback lawsuit against

  Valentina Radchuk. See Case No. 20-cv-23396, Southern District of Florida (“Radchuk Action”).

  The Receiver was engaged in settlement discussion with Ms. Radchuk’s counsel but learned in

  August 2020 that her counsel was no longer representing her. After several unsuccessful attempts

  to contact Ms. Radchuk to discuss settlement or the extension of the tolling agreement concerning

  claims against her, the Receiver filed suit.



                                                   5
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 6 of 16




         On September 25, 2020, the Receiver obtained a default as to this defendant for failure to

  answer the complaint as required by law. [Radchuk Action, D.E. 8]. On November 17, 2021, the

  Receiver filed a motion for default judgment against Radchuk, which remains pending. [Radchuk

  Action, D.E. 14]. On March 28, 2022, the Court entered default judgment against Radchuk in the

  amount of $438,730.13. [Radchuk, D.E. 15].

             5. Lawsuit against Nutra Specialists, Inc.

         On February 18, 2021, the Receiver filed a clawback lawsuit against Nutra Specialists, Inc.

  (“Nutra”) for fraudulent transfers in the amount of $617,862. See Case No. 21-cv-80356, Southern

  District of Florida (“Nutra Action”). On July 2, 2021, after briefing on a motion to dismiss, the

  Receiver obtained leave of Court to file his First Amended Complaint against Nutra. [Nutra

  Action, D.E. 34, 35]. At the same time, Special Counsel took over the litigation on behalf of the

  Receiver. The Receiver’s First Amended Complaint added Dean Wayne and Blake Ruderman as

  defendants in the Nutra Action. Id.

         On August 25, 2021, the parties attended mediation with mediator David Lichter, Esq.

  After a full day of mediation, the parties reached a conditional settlement in principle of the Nutra

  Action subject to execution of a final settlement agreement and the provision of financial affidavits

  to the Receiver by Nutra’s principal, Mr. Wayne. The mediator filed his Report with the Court on

  August 27, 2021. [Nutra Action, D.E. 43].

         Since the mediation, the Defendants have refused to satisfy conditions required to finalize

  the settlement, including Mr. Wayne’s provision of financial affidavits. On February 22, 2022,

  counsel for the Defendants withdrew from the Nutra Action. [Nutra Action, D.E. 46]. The Court

  granted defense counsel’s withdrawal and stayed the case through March 15, 2022, giving

  Defendants time to obtain new counsel. [Nutra Action, D.E. 47]. Nutra and Mr. Wayne obtained



                                                   6
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 7 of 16




  new counsel, but Blake Ruderman has not. Special Counsel is in discussions with new counsel to

  determine whether a settlement can be finalized, but at this juncture, the Receiver is uncertain

  whether settlement will be finalized, or litigation will continue.

             6. Remaining Potential Litigation

         Rather than initiating litigation, when able the Receiver has entered into tolling agreements

  to provide the parties the opportunity to further investigate and discuss a consensual resolution of

  potential claims relating to subject transfers received from the Receivership Entities (collectively

  the “Tolled Entities”). At this time, the Receiver’s counsel is no longer engaged in settlement

  discussions with any known Tolled Entities and has instituted litigation against, or settled with, all

  known Tolled Entities.

         B. Claims Process and First Distribution

         As previously reported, in or about early August 2020, the Receiver made distribution

  payments to approved claimants. There remains one claimant who has failed to cash its distribution

  payment. The Receiver’s counsel and paralegal spoke with the claimant and thereafter initiated a

  cancellation of the check to this claimant. The Receiver reissued a replacement check to this

  claimant. The Receiver anticipates making a second and final distribution to all claimants after

  closing out all clawback litigation.

         C. Ruderman Condominium

             1. Final Judgment and the Condominium

         On August 23, 2018, the SEC filed a Complaint and emergency ex-parte motion seeking

  several forms of emergency and permanent relief, including a freeze of Ruderman’s assets. [D.E.

  1, 7]. On August 13, 2019, the Court approved a settlement agreement and entered a Final

  Judgment against Ruderman. [D.E. 225]. The final judgment lifted the asset freeze against



                                                    7
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 8 of 16




  Ruderman with the exception of his condominium located at 20165 NE 39th Place, #TS-1,

  Aventura, Florida 33180 (“Condominium”). Id. The Final Judgment provided for the retention of

  a realtor, to be agreed upon between Ruderman and the SEC, to sell the Condominium. The Final

  Judgment also provided, in part, that “Ruderman shall further partially satisfy the Final Judgment

  by agreeing to disgorge to the Commission or its designee 50 percent of any equity remaining in

  the Condominium under terms set out in the Final Judgment.” Id.

             2. Retention of Realtor and Expansion of Receivership Order

         Soon thereafter, Esslinger Wooten Maxwell, Inc. d/b/a BHHSEWM-Realty (the “Realtor”)

  was retained under an exclusive listing agreement (“Realtor Agreement”) for a period of six

  months. The Realtor Agreement was extended for additional six-month periods in February 2020,

  August 2020, and February 2021. On September 15, 2021 the SEC filed a Motion to Lift

  Remaining Portion of Asset Freeze on Defendant Carl Ruderman’s Condominium. [D.E. 287]. By

  order dated October 28, 2021, [D.E. 296], the Court lifted the asset freeze previously imposed

  against Ruderman’s Condominium and expanded the Receivership Order to include the

  Condominium, providing the Receiver the same authorization and direction with respect to the

  Condominium as all other assets and entities under Receivership.

             3. Contract and Amendments Thereto for Sale of Condominium

         On November 12, 2021, Ruderman and Giovanni LiDestri (“Buyer” or “LiDestri”) entered

  into an “AS IS” Residential Contract For Sale And Purchase (“Real Estate Sale Contract”) for the

  sale of the Condominium. The sale price set forth in the Real Estate Sale Contract was $5,500,000,

  and as explained below, was reduced by $75,000, for a total sale price of $5,425,000 (“Sale Price”).

         On November 30, 2021, Ruderman, LiDestri and the Receiver executed, subject to Court

  approval, an Amendment to Residential Contact For Sale and Purchase (“AS IS”) Residential



                                                   8
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 9 of 16




  Contract For Sale and Purchase (“Amendment”). Pursuant to the Amendment, Ruderman, the

  Receiver and LiDestri agreed to modify Section 20 of the Real Estate Sale Contract. Among other

  things, the Amendment: (i) provided that Svetlana Ruderman would join in the execution of any

  deed for the conveyance of the Condominium, as required in the Real Estate Sale Contract, for the

  sole purpose of conveying her Homestead rights, if any, in connection with the Condominium; (ii)

  clarified certain provisions relating to the payment of proceeds resulting from the sale of the

  Condominium including, but not limited to, a requirement that the net proceeds from the sale of

  the Ruderman Condominium be held in escrow by counsel for the buyer, Kara L. Stachel, Esq.

  (“Escrow Agent:”); and (iii) that the Real Estate Sale Contract and any amendments thereto had to

  be approved by this Court. The Amendment did not change the Sale Price in the Real Estate Sale

  Contract.

         On December 11, 2021 the Ruderman, LiDestri, and the Receiver entered into Addendum

  No. 2 to Real Estate Sale Contract (“Second Amendment”). In accordance with the Second

  Amendment, the parties agreed to modify the Real Estate Sale Contract solely to the extent that

  the Sale Price was reduced $75,000.00 at closing, as mentioned above, as a credit for certain

  repairs—resulting in the Sale Price of $5,425,000. In addition, Ruderman agreed in the Second

  Amendment to pay $1,200 from any portion of proceeds he received to remediate termite issues.

              4. Court Approval of Sale

         On January 12, 2022, the Receiver, SEC, and Ruderman jointly sought Court approval of

  the sale of Ruderman’s Condominium, pursuant to the Real Estate Contract, the First Amendment,

  and the Second Amendment. [D.E. 297]. The Receiver, SEC, and Ruderman all believed the Sale

  Price was fair and reasonable, and would allow for recovery of monies that could, in part, go




                                                 9
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 10 of 16




   toward paying down disgorgement owed by Ruderman and benefit the Receivership Estate and

   approved claimants. Id.

          The Court approved the sale of the Condominium on January 13, 2022. [D.E. 298]. The

   Court further ordered that the proceeds from the sale of the Condominium would be held in escrow

   by the Escrow Agent, pending further order of the Court. Id.

              5. Court Approval of Settlement with Chase

          Chase was the holder of a promissory note (“Note”) and mortgage (“Mortgage”) on the

   Condominium, which it was assigned by the Federal Deposit Insurance Corporation (the “FDIC”)

   acting in its receivership capacity for Washington Mutual Bank f/k/a Washington Mutual Bank

   FA (“WAMU”). As of February 2022, the total amount of $4,510,586.78 remained due and owing

   under the Note and the Mortgage. Chase represented and warranted that $4,510,586.78 was the

   payoff amount.

          In connection with the Court-approved sale of the Condominium, the Receiver and Chase

   entered into a proposed settlement agreement concerning the Receiver’s clawback claims for

   mortgage payments and the amounts due Chase under the Note and Mortgage. Pursuant to the

   terms of the proposed settlement: (a) Chase agreed to reduce the payoff amount of the Note and

   Mortgage by $300,000, which would inure to the benefit of the Receivership Estate; (b) the

   remaining net proceeds would be distributed in accordance with the Final Judgment; (c) the parties

   would enter into mutual releases on closing; and (d) if the closing did not occur by February 25,

   2022, the proposed settlement agreement would be null and void.

          On February 10, 2022, the Receiver, Chase, and Ruderman sought expedited approval of

   the proposed settlement agreement, given the parties’ need to ensure closing occurred before




                                                  10
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 11 of 16




   February 25. [D.E. 299]. On February 11, 2022, the Court approved the settlement agreement with

   Chase, [D.E. 301], clearing the way for closing of the sale of the Condominium.

              6. Closing and Disbursement of Proceeds

           The Court-approved sale of the Condominium was completed and closed on February 14

   2022.

           On February 18, 2022, the Receiver, SEC, and Ruderman filed a joint motion for

   disbursement of the proceeds held in escrow after closing,2 as required by the Court. [D.E. 303].

   The parties included the final closing statement as an exhibit to their joint motion. [D.E. 303-1].

   As reflected in the closing statement, the total amount of proceeds held in escrow for disbursement,

   after payment of lien holders, closing costs, and other expenses, was $728,578.84. Of this amount:

   (a) $300,000 was to be disbursed to the Receiver pursuant to the settlement with Chase, [D.E. 303,

   ¶7]; and (b) Ruderman and the SEC would each receive $214,289.42 in accordance with the Final

   Judgment, [D.E. 303, ¶8].

           The Court approved the disbursement of these funds, as requested in the joint motion, on

   February 18, 2022. [D.E. 304]. The Receiver received the $300,000 for the benefit of the

   Receivership on February 22, 2022.




   2
     By way of order dated February 11, 2022, the Court had clarified that the “proceeds” held in
   escrow were the net proceeds available after the payment of all lien holders, including Chase’s
   mortgage lien, liens, assessments, and
   applicable closing costs. [D.E. 302].

                                                   11
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 12 of 16




        IV.      BANK ACCOUNTS

              In connection with his duty to marshal the Receivership’s assets, the Receiver opened

   Receivership bank accounts at BankUnited. The following is a list of bank accounts and their

   corresponding balances:3

              Jon Sale as Receiver for Bright Smile Financing, LLC       $ 456,115.07
              Jon Sale as Receiver for Ganador Enterprises LLC           $ 2,067,781.25
              Jon Sale as Receiver for BRR Block Inc.                    $ 586,747.49
              Jon Sale as Receiver for Pay Now Direct LLC                $ 712,375.77
              Jon Sale as Receiver for Digi South LLC                    $ 273,185.28

              TOTAL                                                      $4,096,204.86

        V.       ASSET IDENTIFICATION

              A. Bright Smile

              As explained in the Receiver’s prior reports, the Receiver sold Bright Smile’s assets to

   Buyers, which sale was approved by the Court on February 20, 2019. The Receiver has

   investigated whether there are any additional claims or other sources of recovery available as it

   relates to Bright Smile. Currently, the Receiver does not believe there are any additional claims or

   other sources of recovery related to Bright Smile.

              B. BRR Block

              The Receiver has liquidated most of the Receivership’s digital currency holdings, which

   were purchased using funds from BRR Block. The Receiver retained a digital currency consultant

   to assist with the liquidation, as approved by the Court on October 15, 2019 [D.E. 240]. The

   Receiver is determining whether it is possible to liquidate the remaining crypto currencies, last

   valued at approximately $15,000-$20,000.




   3
       The account balances are as of the afternoon of March 23, 2022.

                                                     12
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 13 of 16




          C. Digi South

          As explained in prior reports, the Receiver’s professionals investigated Digi South to

   identify possible sources of recovery for the benefit of the Receivership Estate. The Receiver

   obtained tolling agreements from several entities that received transfers from Digi South, which

   are included within the Tolled Entities. The Receiver has settled all known litigation related to

   Digi South. Currently, the Receiver does not believe there are any additional claims or other

   sources of recovery related to Digi South.

          D. Media Pay

          The Receiver’s professionals investigated Media Pay and reviewed related documents to

   locate possible sources of recovery for the benefit of the Receivership Estate. The Receiver’s

   lawsuit against Nutra, filed on February 18, 2021, is for recovery of fraudulent transfers the

   Receiver contends were made by Media Pay. Currently, the Receiver does not believe there are

   any additional claims or other sources of recovery related to Media Pay.

          E. Pay Now

          As explained in the Receiver’s prior reports, there are no remaining assets related to Pay

   Now. Pay Now never had any business operations and was only used to pay Defendant Ruderman’s

   personal and family expenses including his mortgage and condominium related fees. Pay Now had

   a bank account at Bank of America, which was closed in early August 2018 before the Receiver’s

   appointment. The bank account contained approximately $2,348.00, which funds were remitted

   by 1 Global representatives to the Receiver after the Receiver’s appointment. The cash was

   transferred to a Receivership bank account.




                                                  13
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 14 of 16




            The Receiver has settled or concluded all known litigation related to Pay Now. Currently,

   the Receiver does not believe there are any additional claims or other sources of recovery related

   to Pay Now.

            F. The Ruderman Family Trust and Bright Smile Trust

            The Receiver’s professionals investigated the Ruderman Family Trust and Bright Smile

   Trust and reviewed related documents to locate other possible sources of recovery for the benefit

   of the Receivership Estate. Currently, the Receiver does not believe there are any additional claims

   or other sources of recovery.

      VI.      FEES AND COSTS

            The Receiver and his team are especially cognizant of the impact their professional fees

   have on the return of monies to defrauded investors. The Receiver and his team have worked

   diligently through complex issues to maximize recoveries while billing at substantially discounted

   rates. In addition, the Receiver has sought to work collaboratively with the SEC and 1 Global in

   sharing information, identifying recovery sources and targets, and reducing duplication of efforts.

   Thus far, the Receiver has utilized his and his team’s collective experience to avoid costly litigation

   while also securing significant cash recoveries. In certain instances where litigation has become

   necessary, the Receiver has obtained counsel to pursue those claims under a contingency fee

   agreement, where such counsel only receives payment for fees if there is a recovery to the

   Receivership Estate.

                                             CONCLUSION

            The foregoing is a summary of the Receiver’s and his retained professionals’ activities

   during the Reporting Period. Further information is available upon request. The Receiver will be

   filing additional reports with the Court on a quarterly basis, as required by the Receivership Order.



                                                     14
Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 15 of 16




             Dated: April 18, 2022.               NELSON MULLINS BROAD AND CASSEL

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                                                  By:     s/Daniel S. Newman
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                                                          Christopher Cavallo
                                                          Florida Bar No. 0092305


                                      CERTIFICATE OF SERVICE

             I hereby certify that on April 18, 2022, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served this day on

   all counsel of record identified on the attached Service List in the manner specified, either via

   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

   manner for those counsel who are not authorized to receive electronically Notices of Electronic

   Filing.

                                                          s/Daniel S. Newman
                                                          Daniel Newman




                                                     15
    Case 0:18-cv-61991-BB Document 309 Entered on FLSD Docket 04/18/2022 Page 16 of 16




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                                                    16
